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                            DEFENSE EXHIBIT LIST

No.                             Description                       TENDER OBJECT ADMIT
1.    KEBE 006: Cardi IG Live (with towel on her head) re: suing
      Kebe
2.    KEBE 016: Cardi IG Live where she raps part of her song
      “Press”
3.    KEBE 018: Picture of Cardi with cold sore on her lip
4.    KEBE 046: Kebe 9/2/18 YouTube video re: Cardi’s MLK skit
5.    KEBE 050: Kebe 9/19/18 YouTube video of interview with
      Starmarie Jones
6.    KEBE 025: clip of Cardi on stage at Summer Jam yelling “we
      selling pussy” to the crowd
7.    KEBE 027: Kebe 4/23/19 YouTube video re: Cardi’s attempt
      to mute black blogs
8.    KEBE 032: Kebe 12/18/18 YouTube video where Kebe
      addresses Cardi’s intent to sue Kebe for defamation
9.    KEBE 035: Kebe 1/4/19 YouTube video where Kebe reads an
      email from Cardi’s cousin
10.   CARDI VIDEO 043: Kebe 7/19/19 YouTube video where
      Kebe discusses Kulture’s birthday party and one of Offset’s
      exes showing up
11.   KEBE 051: Kebe 9/21/18 YouTube video re: proof that
      Starmarie wasn’t lying in her interview
12.   KEBE 120-126: Copy of TPO Dennis Byron filed against
      Kebe in Virginia
13.   KEBE 127-136: Kebe TPO Application against Dennis Byron
14.   KEBE 137-140: Motion to Dismiss Byron’s Virginia TPO
15.   KEBE 141-143: Emails re: dismissal of Byron’s Virginia TPO
16.   KEBE 170: 4/10/19 email Kebe received from IG re: Dennis
      Byron reporting her account
17.   KEBE 173: 3/27/19 email Kebe received from IG re: Sarah
      Matz reporting her account
18.   KEBE 176: 4/11/19 email Kebe received from IG re: her
      account being disabled because of multiple reports
19.   KEBE 226: Kebe 9/18/20 YouTube video where Kebe jokes
      that Cardi has HPV
20.   KEBE 239: Kebe 11/8/19 YouTube video where Kebe
      mentions that Cardi was tweeting about her the night before
21.   KEBE 255: Kebe 12/30/19 YouTube video re: Offset
      contacting his ex-girlfriend Jade
22.   KEBE 257: Dennis Byron IG Live threatening Kebe
23.   KEBE 371: Screenshot showing that Cardi follows Lovelyti
      on IG
24.   KEBE 408: Kebe 1/9/19 Tweet re: going viral for R Kelly
      content
25.   KEBE 413: Screenshot of Cardi commenting on IG about

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                             DEFENSE EXHIBIT LIST

No.                             Description                          TENDER OBJECT ADMIT
      Kebe interviewing Starmarie
26.   KEBE 414-419: Screenshots of IG DM conversation between
      Cardi and Kebe re: Starmarie story
27.   KEBE 422: Kebe 3/29/19 Facebook post re: Dennis Byron
      stalking her
28.   KEBE 518-522: 10/26/20 email from Cassidy Jones, stating
      that she is pregnant by Offset and providing receipts
29.   KEBE 569-572: Kebe’s tweets confirming that she didn’t
      report the Offset pregnancy story as facts
30.   KEBE 573: Kebe’s tweet stating that the Offset pregnancy
      story was already reported by another blog
31.   KEBE 618: Screenshot of Spotlight’s comment on IG,
      confirming that they all worked with Starmarie and she
      punched Starmarie in the face
32.   KEBE 619-620: Screenshot of DM between Kebe and Cardi’s
      makeup artist, also confirming she knew Starmarie
33.   KEBE 623: Video recording of Kebe texts with Kyle re: Kebe
      thinking Cardi is setting her up with a fake story
34.   KEBE 683: Cardi strip club beer bottle video
35.   KEBE 698: Video where Cardi refers to herself as a prostitute
36.   KEBE 699: Cardi IG Live where she states that she’s lived
      everything she raps about
37.   KEBE 700: Clip from Cardi B’s song Everything, where she
      raps about prostitution and drug use
38.   KEBE 701: Cardi IG Live where she admits to knowing and
      protecting Starmarie at the strip club
39.   KEBE 703: Cardi IG live re: using percocets
40.   KEBE 704: Cardi video re: having tricks
41.   KEBE 705: Screenshot of Offset Twitter post from 10/1/21 of
      Offset and Cardi having dinner in Paris
42.   KEBE 706: Screenshot of Playboy IG post from 12/9/21 re:
      Cardi being their new creative director
43.   KEBE 707: Screenshot of AMAs IG post from 11/2/21 re:
      Cardi hosting the AMAs on 11/21/21
44.   KEBE 708: Screenshot of Warner Chappell Music IG Post
      from 11/10/21re: Cardi signing with them
45.   KEBE 709: Screenshot of AMAs IG post from 11/21/21 re:
      Cardi winning an award for “Up” being Favorite Hip-Hop
      Song
46.   KEBE 710: Screenshot of AMAs IG post from 11/19/21 re:
      Cardi rolling out the red carpet for AMAs weekend
47.   KEBE 711: Screenshot of Cardi Twitter post from 12/13/21
      re: her becoming the first female rapper to earn three Diamond
      singles

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                              DEFENSE EXHIBIT LIST

 No.                              Description                       TENDER OBJECT ADMIT
48.    KEBE 712: Screenshot of Cardi IG post from 11/2/21 re:
       purchasing a house in NY
49.    KEBE 713: Screenshot taken on 12/28/21 of Cardi IG home
       page showing she has 120 million followers
50.    KEBE 714: Screenshot taken on 12/28/21 of Cardi Twitter
       home page showing she has 20.7 million followers
51.    KEBE 715: Screenshot taken on 12/28/21 of Cardi YouTube
       page showing she has 18 million subscribers
52.    KEBE 718: Cardi video of her, in an Uber, airing out her
       vagina so she doesn’t get a yeast infection
53.    KEBE 719: Screenshot of Cardi IG from 11/30/21 re: her
       release of vodka whipped cream called Whipshots
54.    KEBE 720: Screenshot of Cardi IG post from 11/19/21 re:
       working with Halle Berry on the Bruised Soundtrack
55.    KEBE 721: Screenshot of Cardi IG post from 9/6/21 re: her
       son being born
56.    KEBE 722: Video of Cardi at Offset’s birthday party on
       12/21/21
57.    KEBE 729: Video of Cardi referring to herself as a stripper
       hoe
58.    KEBE 730: Video of Cardi where she says “Imma always be a
       hoe”
59.    KEBE 731: Video of Cardi where she says “I’m a hoe”
60.    KEBE 732: Video of Cardi where she calls herself a “stripper
       hoe”
61.    KEBE 733: Video of Cardi where she advises women to
       retaliate by cheating if their man cheats
62.    KEBE 734: Video of Cardi commenting on how expensive a
       water bottle is and saying “it must have molly in it”
63.    KEBE 736: Video of Cardi where she discusses the 3 rules of
       dealing with a trick
64.    KEBE 737: Kebe IG Post re: Dennis Byron stalking her
65.    CARDI_000049: Kebe IG Post from 4/26/19 re: releasing the
       2-hour call between her and Lovelyti
66.    CARDI_000057: Kebe IG Post from 9/24/18 re: 3 of Cardi’s
       friends corroborating Star’s story
67.    KEBE 738: Screenshot of name of video from Kebe YouTube
       page with Starmarie Jones interview
68.    KEBE 739: Kebe IG Post from 9/19/18 re: picture of Offset
       with cold sore on his lip
69.    KEBE 740: Screenshot of Kebe Tweet from 10/5/18 re: Cardi
       sending her fake stories to publish
70.    KEBE 741: Screenshot of Kebe Tweet from 12/19/19 re:
       Cardi B being one (#10) of her top 15 favorite artists

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                                  DEFENSE EXHIBIT LIST

 No.                             Description                           TENDER OBJECT ADMIT
71.    CARDI_000775-776: Executed HIPAA form for Cardi
       medical records from UCLA Health
72.    CARDI VIDEO 006: Recording of phone call between Kebe
       and Lovelyti that was posted on 4/23/19, but recorded about 6
       months prior
73.    CARDI VIDEO 132: 4/24/20 video where Kebe is with her
       son, showing her followers why she can’t work while her son
       is awake. Discusses Cardi briefly toward the end.
74.    CARDI VIDEO 085: Kebe 9/21/20 video where Kebe is
       frustrated and goes on a rant about why Cardi won’t dismiss
       this lawsuit.
75.    KEBE 742: Screenshot of name of Kebe 9/2/18 YouTube
       video re: MLK skit
76.    KEBE 743: Screenshot of name of Kebe 9/21/18 YouTube
       video re: Starmarie receipts
77.    KEBE 744: Screenshot of name of Kebe 12/18/18 YouTube
       video re: responding to defamation lawsuit
78.    KEBE 745: Screenshot of name of Kebe 1/4/19 YouTube
       video re: Cardi’s cousin being angry
79.    KEBE 746: Screenshot of name of Kebe 4/23/19 YouTube
       video re: Cardi muting black blogs
80.    KEBE 747: Screenshot of name of Kebe 7/19/19 YouTube
       video re: Offset’s ex coming to Kulture’s birthday party
81.    KEBE 748: Screenshot of name of Kebe 12/30/19 YouTube
       video re: Offset contacting his ex-girlfriend, Jade
82.    KEBE 749: Screenshot of name of Kebe 9/29/18 YouTube
       video re: Cardi confirming that she knew Starmarie
83.    KEBE 750: Screenshot of Kebe 4/23/19 video re: Cardi’s rap
       song about how she used to make money
84.    CARDI_000227-228: Screenshot from clerk’s office re:
       Kebe’s TPO application against Dennis Byron
85.    CARDI VIDEO 008: Kebe video addressing Dennis Byron
86.    CARDI VIDEO 009: Kebe video addressing Dennis Byron
       threats toward her
87.    CARDI VIDEO 010: YouTube video of Kebe interview with
       Hey Frase
88.    CARDI VIDEO 038: Kebe addressing Dennis Byron, telling
       him to stop calling her husband
89.    Kebe 049: Kebe 9/18/18 video teaser of Starmarie interview
       with Kebe
90.    CARDI VIDEO 001: Kebe IG Live video from 9/18/18 where
       Kebe discusses people’s reactions to Starmarie interview
       teaser and confirms that she believes Starmarie’s story
91.    CARDI VIDEO 117: Kebe phone interview with Nique at

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                                   DEFENSE EXHIBIT LIST

No.                               Description                           TENDER OBJECT ADMIT
       Nite, where Kebe discusses the credibility of Star’s story
92.    CARDI VIDEO 123: Kebe video re: Cardi will not control her
       channel; Cardi is a public figure who should be scrutinized
93.    CARDI VIDEO 130: Kebe live video where she discusses
       how Cardi stressed Kebe out during Kebe’s entire pregnancy
94.    CARDI_000322: Kebe 9/20/18 Tweet that Kebe will be
       showing receipts that Cardi and Starmarie knew each other
       during her next YouTube Live
95.    CARDI_000316: Cheick 9/20/18 email response to Damien
       Granderson re: Cease and Desist letter he sent to Kebe
96.    CARDI_000403: Screenshot of text conversation between
       Johnny Lester (Dr. Blake’s agent) and Lynda Burton (Cardi’s
       agent) re: Dr. Blake’s first therapeutic coaching session with
       Cardi on 11/3/18
97.    CARDI_000404: Screenshot of text conversation between
       Johnny Lester and Lynda Burton re: Dr. Blake’s second
       therapeutic coaching session with Cardi on 11/4/18
98.    CARDI_000405: Screenshot of text Johnny Lester sent to
       Lynda Burton on 2/11/19 re: Cardi informing Dr. Blake that
       she will not be continuing with Dr. Blake’s services
99.    CARDI_000407-408: Dr. Blake’s Therapeutic Coaching
       Summary re: coaching sessions with Cardi during the
       weekend of 11/1/2018; summary is dated 10/26/2020.
100.   CARDI_000478: Kebe 12/18/18 Facebook Post showing a
       picture of Cardi with coldsore on lip and referring to her as
       Herpes B
101.   CARDI_000488: Kebe 1/25/19 Tweet referring to Cardi as
       Herpes B
102.   CARDI_000671: 10/30/18 Twitter post from Milli Vanilli B
       with Cardi’s picture showing that she is having a breakout on
       her mouth, refers to the breakout as herpes
103.   CARDI_000745-746: Dr. Blake’s Psychological Treatment
       Summary, dated 12/3/20, re: two 1-hr individual therapeutic
       coaching sessions with Cardi on 11/19/20 & 11/23/20
104.   CARDI_000747-748: Dr. Blake invoice from 11/23/20
105.   CARDI_000749: Dr. Blake invoice from 11/19/20
106.   CARDI_000778: Screenshot of DM between Cardi and Remy
       Roja where Cardi says she wants to kill Kebe
107.   CARDI_000787: 4/15/19 Invoice from Dennis Byron to Cardi
       for work on T.Kebe/StarMarie project
108.   CARDI_000788: 5/13/19 Invoice from Dennis Byron to Cardi
       for work on T.Kebe/StarMarie project
109.   CARDI_000789: 6/13/19 Invoice from Dennis Byron to Cardi
       for work on T.Kebe/StarMarie project

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                               DEFENSE EXHIBIT LIST

 No.                              Description                          TENDER OBJECT ADMIT
110.   CARDI_000790: 7/14/19 Invoice from Dennis Byron to Cardi
       for work on T.Kebe/StarMarie project
111.   CARDI-IN-CAMERA_000003: 4/13/19 text from Dennis
       Byron to Cardi re: filing Virginia TPO
112.   KEBE 751: 5/3/19 text from Dennis Byron to Cardi re:
       reporting Kebe video and getting it removed
113.   KEBE 752: 6/12/19 text from Dennis Byron to Cardi re: Kebe
       getting removed from Instagram
114.   KEBE 753-754: 6/17/19 text from Dennis Byron to Cardi with
       picture of him and Lovelyti saying the team is working
115.   KEBE 755: 7/14/19 & 7/15/19 texts from Dennis Byron to
       Cardi re: getting on a call to discuss strategy with Cardi’s
       lawsuit against Kebe
116.   KEBE 756: 7/25/19 text from Dennis Byron to Cardi re: Kebe
       having her baby
117.   KEBE 757-758: 8/11/19 text from Dennis Byron to Cardi that
       it’s time to bring out heavy guns against Kebe and crush her
118.   KEBE 759: 8/27/19 text from Dennis Byron to Cardi re:
       approving the invoice he sent that day
119.   KEBE 760-761: 8/29/19 text from Dennis Byron to Cardi re:
       missing her call
120.   KEBE 762: 10/16/19 text from Dennis Byron to Cardi re:
       Cardi being able to win the lawsuit against Kebe if she gets in
       a defensive posture
121.   KEBE 763: 11/2/19 text from Dennis Byron to Cardi that he
       made Kebe feel very uncomfortable with his efforts and Cardi
       needs to get on the offensive
122.   KEBE 764: 11/30/19 text from Dennis Byron to Cardi re:
       putting together a takedown of Kebe campaign
123.   KEBE 765: 2/2/20 text from Dennis Byron to Cardi thanking
       her for their talk the night before and their mutual goals
124.   CARDI-IN-CAMERA_000128-129: 3/28/19 message from
       Dennis Byron to Cardi that he is ready to sue Kebe and 4/4/19
       message asking Cardi to share his post, which is a warning
       shot to Kebe
125.   Kebe 691-692: Screenshot with information re: the different
       types of services Dr. Blake offers




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